   Case: 1:11-cv-00336 Document #: 100 Filed: 08/25/11 Page 1 of 2 PageID #:1288




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
Blakes et al.,                               )
                               Plaintiffs,   )
                     vs.                     )   CASE NO. 11-cv-00336
Illinois Bell Telephone Company d/b/a        )   Magistrate Judge Kim
AT&T Illinois                                )   On Consent
                              Defendant.     )
                                             )



                                    NOTICE OF FILING
        Attached for filing in the above-styled matter are the FLSA Consent forms of Mark

Davies and Edward Mayr in English.




    Date: August 25, 2011                        Respectfully Submitted,
                                                 Blakes et al.

                                                 By/s/ Walker R. Lawrence
    Walker R. Lawrence                           On of their Attorneys
    Atty. No. 6296405
    Maduff & Maduff, LLC
    Michigan Plaza At Illinois Center
    205 N. Michigan Ave
    Suite 2050
    Phone: 312-276-9000
   Case: 1:11-cv-00336 Document #: 100 Filed: 08/25/11 Page 2 of 2 PageID #:1289




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Blakes et al.,                               )
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                     vs.                     )   CASE NO. 11-cv-00336
Illinois Bell Telephone Company d/b/a        )   Magistrate Judge Kim
AT&T Illinois                                )
                              Defendant.     )
                                             )




                               CERTIFICATE OF SERVICE
        By my signature below, I hereby certify that on Thursday, August 25, 2011, I
electronically filed the attached Notice Of Filing with the Clerk of the Court by using the
CM/ECF System, which will send notice to counsel of record.

    Date: August 25, 2011                        Respectfully Submitted,
                                                 Blakes et al.

                                                 By/s/ Walker R. Lawrence
    Walker R. Lawrence                                     On of their Attorneys
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